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                                     EXHIBIT A




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                       Customers Bank October 4 ‐ 31, 2022 Remittances Tied to Bank Statement



(1,301,569.46) Gross Amount of Remittances 10/4‐10/31
(1,551,275.91) Bank Credits Per Bank Statement 10/1‐10/31
   249,706.45 Difference between Gross Remittances and Bank Credits

   92,532.21 In 10/03 Remit File; Part of Holdback
  147,656.04 Refunds for customer credit balances/ACH returns (debits on bank statement)
    8,643.85 Amount received in October and further researched; paid to CUBI in December
      792.11 Amount received in October and further researched; paid to CUBI in December
        40.00 SBA # 1492338409 Deposited to bank 10/17/22 but not initially remitted; paid to CUBI in December 2022
        68.24 SBA # 1492338409 Deposited to bank 10/19/22 but not initially remitted; paid to CUBI in December 2022
       (26.00) Reconciled paper draft remittance not initially accounted for; paid to CUBI in November
  249,706.45 Sum of explained items

        0.00




1,301,569.46 Gross Amount of Remittances 10/4‐10/31
 (925,242.87) Remitted to SBA for Customer Payments Received after Guaranty Payment (debits on bank statement)
  376,326.59 Net Wire to CUBI
